Case 2:25-cv-11038-SJM-DRG ECF No. 14, PageID.133 Filed 04/14/25 Page 1 of 26




                            United States District Court
                            Eastern District of Michigan

 Chinmay Deore, Yogesh Joshi,
 Xiangyun Bu, and Qiuyi Yang,

        Plaintiffs,                         Civil No. 25-11038

 v.                                         Honorable Stephen J. Murphy, III
                                            Magistrate Judge David R. Grand

 Kristi Noem, in her official capacity as
 Secretary of the U.S. Department of
 Homeland Security; Todd Lyons, in his
 official capacity as Acting Director of
 U.S. Customs and Immigration
 Enforcement; and Robert Lynch, in his
 official capacity as Field Office
 Director of Detroit, U.S. Immigration
 and Customs Enforcement,

        Defendants.


      Defendants’ Response to Plaintiff’s Request for an Emergency
                    Temporary Restraining Order


        On April 11, 2025, plaintiffs filed an emergency motion for a temporary

restraining order and a preliminary injunction. (Mot., ECF No. 2). On the same day,

the Court issued an order requiring defendants to respond to the portion of plaintiffs’

motion seeking a temporary restraining order by 5pm on April 14, 2025. (Order,

ECF No. 7, PageID.109). Defendants submit the attached brief in response to the
Case 2:25-cv-11038-SJM-DRG ECF No. 14, PageID.134 Filed 04/14/25 Page 2 of 26




Court’s order and respectfully request that the Court deny plaintiffs’ request for a

temporary restraining order.

                                             Respectfully submitted,

                                             Julie A. Beck
                                             United States Attorney

                                             /s/ Zak Toomey
                                             Zak Toomey (MO61618)
                                             Assistant U.S. Attorney
                                             211 W. Fort Street, Suite 2001
                                             Detroit, Michigan 48226
                                             (313) 226-9617
Dated: April 14, 2025                        zak.toomey@usdoj.gov




                                         2
Case 2:25-cv-11038-SJM-DRG ECF No. 14, PageID.135 Filed 04/14/25 Page 3 of 26




                            United States District Court
                            Eastern District of Michigan

 Chinmay Deore, et al.,

        Plaintiffs,                         Civil No. 25-11038

 v.                                         Honorable Stephen J. Murphy, III
                                            Magistrate Judge David R. Grand

 Kristi Noem, in her official capacity as
 Secretary of the U.S. Department of
 Homeland Security; et al.,

        Defendants.


       Defendants’ Brief in Response to Plaintiffs’ Motion for an
             Emergency Temporary Restraining Order


                                 Issues Presented

  I.   Should the Court deny some of the relief requested in plaintiffs’
       motion for a temporary restraining order because it does not maintain
       the status quo and would grant plaintiffs the ultimate relief they seek
       in this case?

 II.   Should the Court deny plaintiffs motion when they are unlikely to
       succeed on the merits, they have not demonstrated they are likely to
       suffer an irreparable harm, and the proposed injunction is not in the
       public interest?

III.   If the Court issues a temporary restraining order, should the Court require
       plaintiffs to provide adequate security?
Case 2:25-cv-11038-SJM-DRG ECF No. 14, PageID.136 Filed 04/14/25 Page 4 of 26




                                                Table of Contents

Introduction ................................................................................................................1
Background ................................................................................................................1
Standard of Review ....................................................................................................7
Argument....................................................................................................................7
   I.          Plaintiffs’ Requested Relief is Improper ......................................................8
   II.         Plaintiffs Are Not Entitled to a TRO ...........................................................9
         A.        Likelihood of Success on the Merits ......................................................10
              1.      Due Process .........................................................................................10
              2.      APA Claim ..........................................................................................12
         B.        Irreparable Injury ....................................................................................17
         C.        Balance of Equities and Public Interest ..................................................19
   III. If the Court Enters a TRO the Court Should Require that Plaintiffs Give
   Appropriate Security ............................................................................................20
Conclusion ...............................................................................................................21
Certificate of Service ...............................................................................................22




                                                               ii
Case 2:25-cv-11038-SJM-DRG ECF No. 14, PageID.137 Filed 04/14/25 Page 5 of 26




                                   Introduction

      In this case plaintiffs, four international students enrolled at Michigan

universities, seek emergency injunctive relief requiring the Department of Homeland

Security to change a database known as SEVIS to reflect that plaintiffs have lawful

F-1 nonimmigrant status. On this motion, plaintiffs seek a temporary restraining

order compelling DHS to alter their SEVIS records. The Court should deny this

request because it is procedurally and substantively improper. An emergency motion

for a temporary restraining order may only be used to maintain the status quo; it

cannot be used to obtain the ultimate relief plaintiffs seek in this case, which is the

alteration of their SEVIS record. In addition, the premise of plaintiffs’ claim is

incorrect—SEVIS does not control or even necessarily reflect whether a student has

lawful nonimmigrant status, therefore, plaintiffs are unlikely to succeed on the

merits of their claim. Similarly, plaintiffs have not met their burden of demonstrating

a likelihood of irreparable harm or that a restraining order would serve the public

interest. Finally, if the Court enters preliminary injunctive relief, defendants

respectfully request that the Court require plaintiffs to provide adequate security.

                                   Background

      International students may temporarily enter the United States to complete a

course of study at approved universities. See 8 U.S.C. § 1101(a)(15)(F)(i); 8 C.F.R

§ 214.2(f)(5). To apply for a student visa to the United States, approved international

                                          1
Case 2:25-cv-11038-SJM-DRG ECF No. 14, PageID.138 Filed 04/14/25 Page 6 of 26




students must obtain an I-20 form from their university and present the I-20 to a U.S.

embassy in their home country and meet certain other criteria. 22 C.F.R. §

41.61(b)(1). If the international student qualifies, the U.S. Department of State will

issue the international student a nonimmigrant visa, which will grant the student

entry into the United States under the conditions described in federal regulations

governing the admissibility of nonimmigrant students. See id.; 8 C.F.R. §

214.2(f)(1). If an individual is admitted to the United States as a nonimmigrant

student under § 1101(a)(15)(F)(i), DHS may administratively designate them with

F-1 nonimmigrant classification. 8 C.F.R. § 214.1(a)(2).

Loss of Nonimmigrant Status

      An international student may violate the terms of their F-1 nonimmigrant

status and become removable in several ways. First, if the international student

violates any of the terms in the regulations governing nonimmigrant students, they

may lose their F-1 status. See 8 C.F.R. § 214.2(f) (describing the requirements of

maintaining nonimmigrant student status); 8 U.S.C. § 1184(a)(1). For instance, if an

“F–1 student [] is unable to complete the educational program within the time listed

on Form I–20” they are “considered out of status.” 8 C.F.R. § 214.2(f)(7). And, if a

nonimmigrant student fails to comply with the other regulations at 8 C.F.R. §

214.2(f), he or she may become inadmissible and “will depart from the United

States.” 8 U.S.C. § 1184(a)(1).

                                          2
Case 2:25-cv-11038-SJM-DRG ECF No. 14, PageID.139 Filed 04/14/25 Page 7 of 26




      Second, the Department of State may revoke an F-1 visa “at any time, in [the

Secretary of State’s] discretion.” 8 U.S.C. § 1201(i); 22 C.F.R. § 41.122(a). A

revocation may be immediate, prudential, or provisional. See 22 C.F.R. §§

41.122(b), 42.82; (see also Dep’t of State Guidance Directive, ECF No. 2-4,

PageID.96 (describing a prudential revocation). If the Department of State

immediately revokes a visa, the individual is removable under 8 U.S.C. §

1227(a)(1)(B). In contrast, a prudential revocation, or revocation upon departure,

does not have a corresponding ground of removability. (See Dep’t of State Guidance

Directive, ECF No. 2-4, PageID.96–97; see also SEVP Policy Guidance, ECF No.

2-3, PageID.94). Meanwhile, a “provisional revocation is subject to reversal through

internal procedures established by the Department of State.” 22 C.F.R. § 41.122(b).

      If a student loses nonimmigrant student status, the student or the school may

seek reinstatement. See 8 C.F.R. § 214.2(f)(16). To do so, the student must submit a

form I-539 to U.S. Citizenship and Immigration Services (USCIS). Id.

SEVIS Records

      Congress required that DHS “develop and conduct a program to collect

[certain information] from approved institutions of higher education . . . in the United

States [certain information] with respect to aliens who have the status, or are

applying for the status, of [F-1] nonimmigrants . . . .” 8 U.S.C. § 1372(a)(1). As a

result, the Department of Homeland Security’s Student and Exchange Visitor

                                           3
Case 2:25-cv-11038-SJM-DRG ECF No. 14, PageID.140 Filed 04/14/25 Page 8 of 26




Program created and manages international students at approved schools using an

online database known as SEVIS. See 8 C.F.R. 214.2(f); (see also Exhibit 1 – About

SEVIS at 1–3; Exhibit 2 – Watson Decl. ¶¶ 3–4). “SEVIS is the Student and

Exchange Visitor Information System, a web-based system for maintaining

information on international nonimmigrant students and exchange visitors in the

United States that is administered by the Department of Homeland Security.”

Yunsong Zhao v. Virginia Polytechnic Inst. & State Univ., 770 F. App’x 136, 136

(4th Cir. 2019); see also Doe v. Dordoni, 806 F. App’x 417, 419 (6th Cir. 2020).

      DHS updates SEVIS to reflect the status of international students within the

Student and Visitor Exchange Program. 8 U.S.C. § 1372; (Exhibit 2 – Watson Decl.

¶¶ 3–4). In addition, school officials are required to update SEVIS with information

about students in the program. See 8 C.F.R. § 214.3(g)(1).

      SEVIS does not control or necessarily reflect a nonimmigrant student’s

immigration status. (Exhibit 2 – Watson Decl. ¶¶ 3–4, 21–22).

Plaintiffs’ Background

      Plaintiffs in this case are students who were studying at Michigan universities

until a few days ago. (Compl., ECF No. 1, PageID.7–10). They are citizens of India,

Nepal, and China, respectively. (Id.). All but one entered the United States under an

F-1 visa issued by the U.S. Department of State and the remaining plaintiff converted

to F-1 status after he was already in the United States. (Id.). Each alleges that they

                                          4
Case 2:25-cv-11038-SJM-DRG ECF No. 14, PageID.141 Filed 04/14/25 Page 9 of 26




have been studying at their respective institutions under F-1 student status for 2 to 4

years and that they have never been convicted of any crimes, other than traffic or

parking violations. (Id.).

      DHS searched criminal records for each of the plaintiffs and criminal history

matches were returned for each of the plaintiffs. (Exhibit 2 – Watson Decl. ¶¶ 7–22).

In addition, on April 3, 2025, and April 5, 2025, respectively, the Department of

State prudentially revoked plaintiff Yang and plaintiff Joshi’s visas. (Id.). DHS does

not possess information indicating that plaintiff Deore or plaintiff Bu’s visas were

revoked. (See id.). Based on this information, and at the request of the Department

of State, DHS terminated the SEVIS record for each of the plaintiffs between April

4 and April 8, 2025. (Id.).

      Between April 4 and April 8, 2025, the plaintiffs were contacted by their

schools and informed that their “SEVIS immigration record ha[d] been terminated .

. . by the Department of Homeland Security.” (See, e.g., WSU Email, ECF No. 1-4,

PageID.41). The termination reason was: “Individual identified in criminal records

check and/or has had their VISA revoked.” (See id.; WSU Email, ECF No. 1-3,

PageID.39; UM Email, ECF No. 1-5, PageID.42; UM Email, ECF No. 1-6,

PageID.46; UM Email, ECF No. 1-7, PageID.48).

      The Department of State contacted plaintiff Yang to notify her that it had

revoked her nonimmigrant visa on April 10, 2025, before plaintiffs filed this lawsuit.

                                          5
Case 2:25-cv-11038-SJM-DRG ECF No. 14, PageID.142 Filed 04/14/25 Page 10 of 26




(See Yang Email, ECF No. 12-2, PageID.125; Pl. Supp. Sttmt., ECF No. 12,

PageID.120 n.2). The Department of State’s email does not indicate that Yang’s visa

was revoked immediately, therefore, it was revoked only prudentially. (See id.).

        The Department of State notified plaintiff Joshi on April 11, 2025, several

hours before the defendants became aware of this lawsuit. (See Joshi Email, ECF

No. 12-3, PageID.128). The Department of State’s email does not indicate that

Joshi’s visa was revoked immediately, therefore, it was revoked only prudentially.

(See id.).

        DHS has not initiated removal proceedings against any of the plaintiffs and,

based on the information currently available to the agency, it cannot determine

whether any of the plaintiffs are eligible for immigration proceedings. (Exhibit 2 –

Watson Decl. ¶¶ 7–22). To initiate the removal process, DHS would first issue

plaintiffs a notice to appear at an immigration hearing. See 8 U.S.C. § 1229(a). Once

removal proceedings are initiated, a noncitizen is entitled to counsel and to have his

or her case heard by an immigration judge. See 8 U.S.C. § 1229a. If an immigration

judge orders a noncitizen removed, he or she can move for reconsideration and

appeal to the Board of Immigration Appeals, then the Sixth Circuit. See 8 U.S.C. §

1252.




                                          6
Case 2:25-cv-11038-SJM-DRG ECF No. 14, PageID.143 Filed 04/14/25 Page 11 of 26




Procedural Background

      Plaintiffs filed this suit on April 10, 2025, and filed an emergency motion for

temporary restraining order and preliminary injunction on the same day. (Compl.,

ECF Nos. 1–2). In their complaint, the ultimate relief requested by plaintiffs is an

order compelling DHS to restore their SEVIS record. (Compl., ECF No. 1,

PageID.28–31). In their emergency motion, plaintiffs seek the same relief, as well

as an order prohibiting DHS from “arresting, detaining, or transferring Plaintiffs out

of this Court’s jurisdiction” or “initiating removal proceedings against or deporting

any Plaintiff on the basis of the termination of their F-1 status.” (Id. at PageID.30;

Emergency Mot., ECF No. 2, PageID.50).

                              Standard of Review

      Under Rule 65, a district court may issue a temporary restraining order or

preliminary injunction. Fed. R. Civ. P. 65. However, an “injunction is an

extraordinary remedy which should be granted only if the movant carries his or her

burden of proving that the circumstances clearly demand it.” Overstreet v.

Lexington–Fayette Urban County Gov’t, 305 F.3d 566, 573 (6th Cir. 2002).

                                    Argument

      The Court should deny plaintiffs’ emergency motion because it seeks

inappropriate relief at this stage of the proceeding and because plaintiffs cannot

demonstrate their entitlement to the extraordinary remedy of a temporary restraining

                                          7
Case 2:25-cv-11038-SJM-DRG ECF No. 14, PageID.144 Filed 04/14/25 Page 12 of 26




order or preliminary injunction. Further, if the Court grants preliminary injunctive

relief, the Court should require that plaintiffs provide appropriate security.

I.    Plaintiffs’ Requested Relief is Improper

      “[T]he purpose of a TRO under Rule 65 is to preserve the status quo so that a

reasoned resolution of a dispute may be had.” Procter & Gamble Co. v. Bankers Tr.

Co., 78 F.3d 219, 226 (6th Cir. 1996); see also Lackey v. Stinnie, 145 S. Ct. 659, 667

(2025) (“The purpose of a preliminary injunction is merely to preserve the relative

positions of the parties until a trial on the merits can be held and to balance the

equities as the litigation moves forward.”) (quotation and citation omitted).

      Here, plaintiffs seek relief that is inappropriate on a motion for temporary

restraining order. With respect to plaintiffs’ request that the Court order DHS to

reinstate their SEVIS record, plaintiffs do not seek to maintain the status quo, they

seek to alter it. Before plaintiff filed this suit, DHS had updated the SEVIS system

to terminate their status. (Exhibit 2 – Watson Decl. ¶¶ 7–22). And, in this suit, the

ultimate relief plaintiffs seek is the reinstatement of their SEVIS record. (See

Compl., ECF No. 1, PageID.28–31). Accordingly, the status quo is that plaintiffs’

SEVIS record has been terminated and plaintiffs’ request for an emergency order

changing that status is inappropriate. See Procter & Gamble Co., 78 F.3d at 226.

      To the extent plaintiffs argue that their SEVIS record controls or reflects their

lawful nonimmigrant status, the agency does not take the position that plaintiffs’


                                           8
Case 2:25-cv-11038-SJM-DRG ECF No. 14, PageID.145 Filed 04/14/25 Page 13 of 26




lack lawful nonimmigrant status at this time or that SEVIS controls or reflects their

nonimmigrant status. (See Exhibit 2 – Watson Decl. ¶ 21–22). Therefore, that

argument does not present a valid case or controversy. See Lujan v. Defs. of Wildlife,

504 U.S. 555, 568 (1992).

II.   Plaintiffs Are Not Entitled to a TRO

      Under Rule 65, if notice is provided to the adverse party, the standard for

issuing a preliminary injunction and a temporary restraining order are the same. See

Overstreet v. Lexington-Fayette Urb. Cnty. Gov’t, 305 F.3d 566, 572 (6th Cir. 2002);

News Herald, a Div. of Gannett Satellite Info. Network, Inc. v. Ruyle, 949 F. Supp.

519, 521 (N.D. Ohio 1996) (“If there is notice to the other side and a hearing, the

Court applies the same standards governing issuance of a preliminary injunction in

determining whether to issue a temporary restraining order.”)

      “A plaintiff seeking a preliminary injunction must establish that he is likely to

succeed on the merits, that he is likely to suffer irreparable harm in the absence of

preliminary relief, that the balance of equities tips in his favor, and that an injunction

is in the public interest.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20

(2008); McPherson v. Michigan High Sch. Athletic Ass'n, Inc., 119 F.3d 453, 459

(6th Cir. 1997). “These factors are to be balanced against one another and should not

be considered prerequisites to the grant of a preliminary injunction.” Leary v.




                                            9
Case 2:25-cv-11038-SJM-DRG ECF No. 14, PageID.146 Filed 04/14/25 Page 14 of 26




Daeschner, 228 F.3d 729, 736 (6th Cir. 2000). Plaintiffs have not met the high

burden of demonstrating they are entitled to preliminary injunctive relief.

      A.     Likelihood of Success on the Merits

      Plaintiffs seek relief under the due process clause and the Administrative

Procedure Act. As described below, they are unlikely to succeed under either theory.

             1.     Due Process

      To succeed on a due process claim, a plaintiff must show that they “have a

property interest that entitles them to due process protection” and, if so, the “court

must then determine ‘what process is due.’” Leary v. Daeschner, 228 F.3d 729, 741

(6th Cir. 2000). Here, plaintiffs do not have a protected interest in their SEVIS record

and, even if they did, the process available to them satisfies the Fifth Amendment.

      For instance, in Zhao, a nonimmigrant student on an F-1 visa “dropped below

the requisite number of credit hours” so his university updated SEVIS to terminate

his nonimmigrant status. Zhao, 2018 WL 5018487, at *1–2. In response, he sued his

university and alleged that it had violated his Fifth Amendment due process rights

by terminating his SEVIS record. See id. at *4–5. The district court, however,

dismissed his claim because “termination of Zhao’s SEVIS record . . . in the SEVIS

database, a clerical duty performed as a preliminary matter and in accordance with

federal regulations . . . does not itself engender due process protections.” Id.; see




                                          10
Case 2:25-cv-11038-SJM-DRG ECF No. 14, PageID.147 Filed 04/14/25 Page 15 of 26




also Bakhtiari v. Beyer, No. 4:06-CV-01489(CEJ), 2008 WL 3200820, at *3 (E.D.

Mo. Aug. 6, 2008) (same).

      Here, as in Zhao, plaintiffs do not have a constitutionally protected property

interest in their SEVIS record. SEVIS is an administrative processing tool that does

not affect their lawful nonimmigrant status. See Zhao, 2018 WL 5018487, at *4–5.1

For instance, the regulations permit universities to terminate SEVIS record, but

plaintiffs do not argue that universities have the authority to revoke a nonimmigrant

student’s lawful immigration status. (See Emergency Mot., ECF No. 2).

      Furthermore, even if plaintiffs had a protected property interest in their SEVIS

record, the process afforded them would satisfy the Fifth Amendment. The process

due under the Fifth Amendment is determined by weighing the interest involved

with the burden of providing additional procedures. See Mathews v. Eldridge, 424

U.S. 319, 339–40 (1976); Bd. of Regents of State Colls. v. Roth, 408 U.S. 564, 569

(1972). Here, the review procedures available to plaintiffs satisfy due process. If

plaintiffs have actually lost their lawful nonimmigrant F-1 status, they could seek

reinstatement administratively from USCIS. See 8 C.F.R. 214.2(f)(16). Similarly,


      1
         Plaintiffs explicitly do not challenge the prudential revocation of their visas
in this case, but even if they had, they would not have a valid due process claim. See
Wright v. Immigr. & Naturalization Serv., 379 F.2d 275, 276 (6th Cir. 1967) (“An
alien does not obtain a vested right upon approval of a visa petition.”); see also
Bangura v. Hansen, 434 F.3d 487, 496 (6th Cir. 2006); Foul v. Mukasey, 256 F.
App’x 785, 790 (6th Cir. 2007); Martial-Emanuel v. Holder, 523 F. App’x 345, 350
(6th Cir. 2013); Knoetze v. U.S., Dep’t of State, 634 F.2d 207, 212 (5th Cir. 1981).
                                            11
Case 2:25-cv-11038-SJM-DRG ECF No. 14, PageID.148 Filed 04/14/25 Page 16 of 26




even if there were some reason to believe that plaintiffs were imminently likely to

be placed into removal proceedings, the procedures available to plaintiffs in

immigration court more than complies with the Fifth Amendment. See 8 U.S.C. §

1229a; Camara v. Holder, 705 F.3d 219, 223–24 (6th Cir. 2013) (rejecting due

process challenge to removal proceedings).

             2.     APA Claim

      Plaintiffs are unlikely to succeed on their claim under the Administrative

Procedure Act (APA) because another statute provides an adequate remedy, the

agency action plaintiffs challenge is not final, and because the agency’s action was

not arbitrary or capricious.

                    a.     The Privacy Act Bars APA Review

      “The doctrine of sovereign immunity removes subject matter jurisdiction in

lawsuits against the United States unless the government has consented to suit.”

Beamon v. Brown, 125 F.3d 965, 967 (6th Cir. 1997). “Although the APA provides

a broad waiver of sovereign immunity, codified at 5 U.S.C. § 702, the waiver is

limited by . . . § 701(a)(1) [which] provides that Chapter 7 of the APA, including §

702’s waiver of sovereign immunity, does not apply to cases in which ‘statutes

preclude judicial review.’” Id.

      Here, the Privacy Act bars plaintiffs’ APA claim. The Privacy Act allows

individuals to challenge data contained in a government system of records in federal


                                        12
Case 2:25-cv-11038-SJM-DRG ECF No. 14, PageID.149 Filed 04/14/25 Page 17 of 26




court and establishes a comprehensive scheme for such claims. See 5 U.S.C. §

552a(g)(1). However, that statute prohibits most noncitizens from filing suit

challenging records under the Privacy Act. See 5 U.S.C. §§ 552a(a)(2). Therefore,

they do not have a valid claim under the APA because the Privacy Act bars such

claims. See 5 U.S.C. §§ 701–704; As such, the United States has not waived

sovereign immunity. See 5 U.S.C. § 552a(a)(2); 5 U.S.C. § 704(a)(1); Durrani v.

U.S. Citizenship & Immigr. Servs., 596 F. Supp. 2d 24, 28 (D.D.C. 2009); Cudzich

v. INS, 886 F. Supp. 101, 105 (D.D.C. 1995); Raven v. Panama Canal Co., 583 F.2d

169, 171 (5th Cir. 1978) (“[I]t would be error for this Court to allow plaintiff, a

Panamanian citizen, to assert a claim under the Privacy Act.”). Moreover, the Court

would lack jurisdiction over any such a claim because Plaintiff has not exhausted

their administrative remedies. Williams v. Bezy, 97 F. App’x 573, 574 (6th Cir.

2004); Dickson v. Off. of Pers. Mgmt., 828 F.2d 32, 40–41 (D.C. Cir. 1987).

                   b.    The Agency’s Action is Not Final

      The APA provides judicial review only for final agency action. 5 U.S.C. §

704. Agency action is final only if (1) it marks “the consummation of the agency’s

decisionmaking process” and (2) is “one by which rights or obligations have been

determined, or from which legal consequences flow.” Bennett v. Spear, 520 U.S.

154, 177–78 (1997) (citations omitted).




                                          13
Case 2:25-cv-11038-SJM-DRG ECF No. 14, PageID.150 Filed 04/14/25 Page 18 of 26




      Here, the agency’s action is not final because no decision has been made on

the plaintiffs’ nonimmigrant status. Even if plaintiffs’ nonimmigrant status (rather

than only their SEVIS record) was at issue in this case, plaintiffs could

administratively challenge the relevant agency decisions. See 8 C.F.R. §

214.2(f)(16); 22 C.F.R. § 41.122(b). Further, plaintiffs cannot establish that the

change in their SEVIS record determines plaintiffs’ rights or obligations as to their

nonimmigrant status or that any legal consequences flow from the termination of

their SEVIS record. SEVIS record does not control plaintiffs’ nonimmigrant status,

it is merely a recordkeeping tool used by DHS and universities to manage the Student

and Visitor Exchange Program. (Exhibit 2 - Watson Decl. ¶¶ 3–4, 21–22).

Accordingly, plaintiffs have not identified an agency action that qualifies as final

under the APA.

      To the extent that plaintiffs rely on Jie Fang v. Director U.S. Immigration &

Customs Enforcement, 935 F.3d 172, 182 (3d Cir. 2019), to argue that the

termination of a SEVIS record is final agency action the APA, their reliance is

misguided. In Jie Fang, DHS conducted a sting operation to catch fraudulent student

visa brokers. Id. at 173–74. During that process several students were granted

nonimmigrant student visas and entered the United States only to have their

immigration status revoked by DHS at the conclusion of the investigation. Id. at

173–74. Because the students’ nonimmigrant status had been revoked, they were

                                         14
Case 2:25-cv-11038-SJM-DRG ECF No. 14, PageID.151 Filed 04/14/25 Page 19 of 26




placed in immigration removal proceedings. Id. at 178–79. The students challenged

the revocation of their nonimmigrant status by filing suit under the APA and DHS

flip flopped regarding whether it believed that the students were willing participants

in the fraud. See id. at 174 n.5. The district court dismissed plaintiffs’ APA claims

after finding that DHS’s revocation of their nonimmigrant status was not final under

the APA and that the suit was not ripe because the students could challenge their

revocation in immigration removal proceedings. Id. at 177–78. On appeal, the Third

Circuit reversed on both points and remanded for further proceedings because it

concluded that the regulation providing for reinstatement of F-1 nonimmigrant status

(8 C.F.R. § 214.2(f)(16)) was not mandatory and that the regulatory appeal

procedure was not reviewable in immigration proceedings. Id.

      Jie Fang is not persuasive in this case. The issue in Jie Fang was not the

termination of a SEVIS record; it was the revocation of lawful nonimmigrant status,

which led to the agency placing the students in immigration removal proceedings.

See Jie Fang, 935 F.3d at 178–79.

                   c.     The Termination of Plaintiffs’ SEVIS record Was Not
                          Arbitrary and Capricious

      If an action is reviewable under the APA, a court may set aside agency action

that is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

with law.” 5 U.S.C. § 706. “Under the arbitrary or capricious standard, the party

challenging the agency’s action must show that the action had no rational basis or

                                         15
Case 2:25-cv-11038-SJM-DRG ECF No. 14, PageID.152 Filed 04/14/25 Page 20 of 26




that it involved a clear and prejudicial violation of applicable statutes or regulations.”

Kroger Co. v. Reg’l Airport Auth. of Louisville & Jefferson Cnty., 286 F.3d 382, 389

(6th Cir. 2002) (quotations omitted). “The arbitrary or capricious standard is the least

demanding review of an administrative action.” Id.

      Here, DHS’s termination of plaintiffs’ SEVIS records was not arbitrary and

capricious. SEVIS records may be terminated for numerous reasons by DHS and by

a university. (See Exhibit 3 – SEVIS Terminations). DHS received information of

criminal history related to the plaintiffs and terminated plaintiffs SEVIS record as a

result. (Exhibit 2 – Watson Decl. ¶¶ 7–22). This is a valid reason for terminating

SEVIS record. (See Exhibit 3 – SEVIS Terminations). Accordingly, plaintiffs could

not succeed on their APA claim based on the evidence in the record at this stage,

even if the termination of their SEVIS record were reviewable under the APA.

      Plaintiffs’ argument that 8 C.F.R. § 214.1(d) somehow limits DHS’s ability

to update SEVIS is contrary to the language of the regulation and unsupported by

any reliable authority. First, it is unsupported by the text of the regulation. The plain

text of a regulation controls its application. See Saginaw Chippewa Indian Tribe of

Michigan v. Blue Cross Blue Shield of Michigan, 32 F.4th 548, 557 (6th Cir. 2022).

Section 214.1(d) lists three events that “shall” terminate an individual’s

nonimmigrant status and none of those events are relevant in this case. See 8 C.F.R.

§ 214.1(d). However, the text does not implicitly or explicitly refer to the SEVIS

                                           16
Case 2:25-cv-11038-SJM-DRG ECF No. 14, PageID.153 Filed 04/14/25 Page 21 of 26




system and, even if plaintiffs’ lawful nonimmigrant status were at issue in this case,

nothing in the text of the regulation indicates that those events are the only reasons

to terminate a nonimmigrant’s status. See id. Instead, that regulation provides

reasons for terminating nonimmigrant status in addition to reasons provided

elsewhere in the U.S. Code and the Code of Federal Regulations. See, e.g., 8 U.S.C.

§ 1201(i); 8 C.F.R. § 214.2(f). Accordingly, plaintiffs’ argument has no basis in the

text of the regulation.

      Second, the authority plaintiffs cite for their interpretation of § 214.1(d) does

not support their argument. Plaintiffs’ only support is footnote 100 in Jie Fang. See

Jie Fang, 935 F.3d at 185 n.100. In that footnote, the Third Circuit mused about

whether § 214.1(d) limited DHS’s ability to terminate F-1 nonimmigrant status. See

id. (stating only that it “appears” so). However, the court qualified its statement

because that issue was not before the court on appeal and because no party made

such an argument or even mentioned § 214.1(d) in any of their briefs. See

Appellant’s Brief, Jie Fang v. Homan, 2018 WL 1790605; Appellee’s Brief, 2018

WL 2234265, Appellant’s Reply Brief, 2018 WL 2725628. Accordingly, the Jie

Fang footnote should only be accorded the weight that one would reasonably attach

to undeveloped dicta contained in the 100th footnote of an opinion.

      B.     Irreparable Injury




                                         17
Case 2:25-cv-11038-SJM-DRG ECF No. 14, PageID.154 Filed 04/14/25 Page 22 of 26




      The Supreme Court’s “frequently reiterated standard requires plaintiffs

seeking preliminary relief to demonstrate that irreparable injury is likely in the

absence of an injunction.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22

(2008) (emphasis in original). “A plaintiff’s harm from the denial of a preliminary

injunction is irreparable if it is not fully compensable by monetary damages.”

Overstreet v. Lexington-Fayette Urb. Cnty. Gov’t, 305 F.3d 566, 578 (6th Cir. 2002).

      Here, plaintiffs have not demonstrated a likely irreparable injury. Plaintiffs

first argue that a violation of their due process rights constitutes irreparable injury.

(Emergency Mot., ECF No. 2, PageID.79–80). However, as described above, they

have not plausibly alleged that their due process rights have been, or will be,

violated.

      Second, plaintiffs argue that they “face the serious risk of immediate arrest

and detention for deportation.” (Emergency Mot., ECF No. 2, PageID.79–80).

However, that harm is not likely because DHS has not initiated removal proceedings

against any of the plaintiffs. (Exhibit 2 - Watson Decl. ¶¶ 7–22). And, in any event,

the mere risk of detention and removal is not sufficient to establish irreparable injury.

See Nken v. Holder, 556 U.S. 418, 435 (2009) (“It is accordingly plain that the

burden of removal alone cannot constitute the requisite irreparable injury.”)

      Third, plaintiffs argue that the interruption of their studies constitutes

irreparable harm. (Emergency Mot., ECF No. 2, PageID.79–81). However, they

                                           18
Case 2:25-cv-11038-SJM-DRG ECF No. 14, PageID.155 Filed 04/14/25 Page 23 of 26




offer no evidence regarding whether they sought reconsideration or reinstatement

through the proper procedures or whether they can transfer their credits to

universities in their home country or in other comparable countries, such as Canada,

or in Europe. (See id.); 8 C.F.R. § 214.2(f)(16); 22 C.F.R. § 41.122(b). Therefore,

they have not developed a sufficient record to establish that their injury is not fully

compensable by monetary damages. See Overstreet, 305 F.3d at 579.

      C.     Balance of Equities and Public Interest

      The third and fourth preliminary injunction factors “merge when the

Government is the opposing party.” Nken, 556 U.S. at 435. The Supreme Court has

acknowledged that the public has a valid interest in the efficient functioning of the

immigration system and held that courts cannot presume that plaintiffs establish the

third and fourth preliminary injunction factors simply by alleging that they are being

wrongfully denied immigration rights. See id. at 435–36.

      Here, plaintiffs have not met their burden of establishing that the balance of

equities or the public interest weigh in their favor. Plaintiffs’ only argument on this

point is that DHS allegedly wrongfully terminated their SEVIS record. (See

Emergency Mot., ECF No. 2, PageID.81–82). However, as noted above, plaintiffs

are incorrect on the merits and, even if they were not, this allegation alone is not

sufficient to demonstrate that the balance of equities or the public interest weighs in

favor of a preliminary injunction in this case. See Nken, 556 U.S. at 435–36.


                                          19
Case 2:25-cv-11038-SJM-DRG ECF No. 14, PageID.156 Filed 04/14/25 Page 24 of 26




III.   If the Court Enters a TRO the Court Should Require that Plaintiffs
       Give Appropriate Security

       A “court may issue a preliminary injunction or a temporary restraining order

only if the movant gives security in an amount that the court considers proper to pay

the costs and damages sustained by any party found to have been wrongfully

enjoined or restrained.” Fed. R. Civ. P. 65(c). “While this language appears to be

mandatory, the rule in our circuit has long been that the district court possesses

discretion over whether to require the posting of security.” Appalachian Reg’l

Healthcare, Inc. v. Coventry Health & Life Ins. Co., 714 F.3d 424, 431 (6th Cir.

2013) (quotation omitted). “The amount of security required and whether a bond is

needed is up to the discretion of the district court.” Golden v. Kelsey-Hayes Co., 845

F. Supp. 410, 416 (E.D. Mich. 1994), aff’d, 73 F.3d 648 (6th Cir. 1996)

       On March 11, 2025, the President issued a memo requiring federal agencies

to seek security when confronted with suits seeking emergency preliminary

injunctive relief.2 Pursuant to that memo, if the Court grants preliminary injunctive




       2
         See White House Memo, https://www.whitehouse.gov/presidential-
actions/2025/03/ensuring-the-enforcement-of-federal-rule-of-civil-procedure-65c/
(last visited 4/13/2025).
                                       20
Case 2:25-cv-11038-SJM-DRG ECF No. 14, PageID.157 Filed 04/14/25 Page 25 of 26




relief in this case, defendants request that the Court require plaintiffs to provide

adequate security.



                                   Conclusion

      Defendants respectfully request that the Court deny plaintiffs’ motion for a

temporary restraining order.

                                             Respectfully submitted,

                                             Julie A. Beck
                                             United States Attorney

                                             /s/ Zak Toomey
                                             Zak Toomey (MO61618)
                                             Assistant U.S. Attorney
                                             211 W. Fort Street, Suite 2001
                                             Detroit, Michigan 48226
                                             (313) 226-9617
Dated: April 14, 2025                        zak.toomey@usdoj.gov




                                        21
Case 2:25-cv-11038-SJM-DRG ECF No. 14, PageID.158 Filed 04/14/25 Page 26 of 26




                               Certificate of Service

      I hereby certify that on April 14, 2025, I electronically filed the foregoing

paper with the Clerk of the Court using the CM/ECF system, which will send

notification of such filing to the parties of record.



                                             /s/ Zak Toomey
                                             Zak Toomey
                                             Assistant U.S. Attorney




                                           22
